Case 3:16-cv-08277-DLR Document 24-5 Filed 10/18/17 Page 1 of 16

Exhibit 5

Evidence of Robo-Signing
“LETTER AND D()CUMETS:

Texas Secretary of State Letter RE: Complaint INPC 22531

NO. CV-16-08277-PCT~DLR

 

Case 3:16-cv-08277-DLR Document 24-5 Filed 10/18/17 Page 2 of 16

l’hone: 512-463~5558

Fax: 512-463-0873

Dial 7-l-l For Relay Services
www.sos_state.tx.us

Notary Puhlic Unit
P.O. Bo.x' l3375
Austin, Texas 787| l-3375

      

Hope Andrade
Secretary of State

February 8, 20 l 2

Michael Brosnahan
22 l-lummingbird Circle
Sedona, AZ 86336

Re: lNPC 22531
Dear Mr. Brosnahan:

You filed a complaint with the Oftice of the Texas Secretary ot` State ("Office”) alleging that Christopher
Williams had violated his duties and responsibilities as a Texas notary public. Specitically it was alleged
that Mr. Williams notarized the signatures of individuals without them personally appearing before him at
the time of the notarization. l\/lr. Williams provided a sworn statement in which he stated that for every
document he has notarized, the individual has appeared before him. Additionally, he provided copies of
his log book to evidence the notarizations in question. As a result, this Ot`tice has not been provided with
any evidence to support a conclusion that the individuals did not personally appear before him at the time
of the notarization.

A review of his log books did indicate that they did not include all the information required under Tex.
Gov’t Code §406.01"4. Thus, the Office requested that Mr. Williams provide copies of a revised notary
book containing the required information so that going forward his record books were in compliance with
§406.0l4, and that Mr. Wiliiams complete an educational training video for Texas notaries public. Mr.
Williams has failed to comply with the terms of that request, and thus the above-referenced complaint is
being suspended Mr. Wi|liams’ current commission expires on June .7.0, 2012. He will not be permitted
to renew or apply for a new commission without complying with the terms of the offer and undergoing an
agreed three month suspension However, no further action will be taken unless Mr. Wilh`ams applies for
a subsequent term of oftice.

The Oftice does not havejurisdiction to determine the validity of the document in question or to decide
contractual disputes The Office cannot obtain restitution of property loss that may have been caused by a
notary’s action. lf you wish to obtain compensation for damages that were caused by a notary`s conduct,
you will have to turn to other sources. You may wish to contact a private attorney or tile a claim with the
notary’s bonding company.

Thank you for bringing this matter to our attention.

Sincerely, |,

      

‘ r, ~/. »>’-~» ‘*"
`~ Briana Godbev

.¢

Attorney, Business & Public Filings Division

 

 

Case 3:16-cv-08277-DLR Document 24-5 Filed 10/18/17 Page 3 of“;16

 

 

RECORDING REQUES’I ED BY:
RECONTRUST COMPANY, N .A.
2388 Pez'formance Dr, ¥X2-985~07-ll§
Richardson, IX 75082

WHEN RECORDED MA!L 'IO:
BAC HOME LOANS SERVICING. LP
400 COUNTRYW'!DE WAY ~SV~35
SYMI VALLEY, CA 93065

Attn: FORECLOSURE DEPT

¥S No.. XX-XXXXXXX

Titlc Order No. 41 127-48

APN No. 401-5!-046

NOTICE OF TRUSTEE'S SALE ARIZONA

the following legally described trust property will be sold, pursuant to the power of sale under that certain Deed
of' T rust Recorded on 05/31/2006, as lnstmment Number 3386 l 86, Book N/A, Page N/A, in the records ot
Coconino County, Arizona, at public auction to the highest bidder: At the main entrance to the Coconino County
Courthouse, 200 North San Franciscc Street, Flagstaff AZ on 08/06!2009 at l l:30 AM of said day

LOT 33, OF CliAPEL BELLS ESTATES UNIT 4, ACCORDING TO CASE 2 OF MAPS, PAGE 324,
RECOR.DS OF COCONINO COUNTY, AR!ZONA AP;\’ No 401-51-046

The Deed of Tmst and/or Bcnef`rciary provide the following purported property location:
21 HUMMINGBlRD ClR, SEDONA, Coeonino County, AZ 86336-70l2

Said sale will be made for cash ( payable at time ol sale), but without covenant or wartanty, express or implicd,
regarding title, possession or encumbrances , to pay the remaining principal sum of the note secured by said Deed
o!" Trust, whichr~includcs interest thereon as provided in said note, advances, it` any underthe terms ofsaid Deed
oi `lrust, interest on advances, it'any, fees, charges and expenses el the Trustee and ofthc trust created by said
Deed ot` T`mst The original sum of the note is $373,500 00 'l`rustee will accept only cash or cashiers check for
reinstatement or price bid payment. Reinstatcmcnt payment must be paid before five o’etock P.M on the last day
other than a Sa\urday or legal holiday before the date ot` the sale. l'he Purchaser at the sale, other than the
beneficiary to the extent ol`his credit bid, shall pay the price no later than five o'cloek P,M ol` the following day,

other than a Saturday or legal holiday

blame and Address of'Original l`rustor: MlCHAEL l BROSNAHAN, 2l HUMMINGBIRD ClR, SEDONA, AZ

86336-70|2
Name and Address of'Cuzrent `lrustee: RECONTRUSI COMPANY, N .A., 23 80 Performance Dr,

'l XZ~985-07-O3 Richardson, TX 75082 FOR lNl`-ORMAHONISAI.F. INFORMATION CALL: (SOO) ZSI-X?.W

Name and Address cf'Curr:nt Benet'ieiary: MORTGAGE El.EC lRO`NlC REGISTRATION. 400
COUNTRYW¥DE WAY SV-ES, . SIMl VALLF.Y, CA 93065 PHONE: (800) 669-6650
W-`__

RECONTRUST COMPANY, N'A. lS THE CURRENT lRUSl EE. RECONTRUSI COMPANY, N.A
QUALIFIES AS A TRUST EE OF THE TRUST DEED UNDER AR|ZONA REVISED STA`IUTES SECT IGN
33-803, SUBSEC'HON A. S,, BECAUSE lT lS A NAT|ONAI, ASSOC!AT\ON REGULATED BY THE

OFFlCE OF THE COMP':'RO¥_I,~ER OF THE CURRENCY("OCC")

Form aznos (05/88)

 

_CaSe 3:16'-cv-08277-DLR Document 24-5 l|:i|ed 10/18/17 Page 4 of 16 .

DAT`ED: May 01, 2009
’ nECoNt nt)s'r con-rPANY, N .A,
As Tr;xstee

Shane Setwin, % Mcmbex

Statc of‘:

County of': __ *___

On _________F_ before me _____~____.__,__d_*__ ______» M___, personally appeared
, know to me {or proved to me on the oath of

or through ___* ____) to he the person whose name is subscribed to the

____,_,_____,_.___ _______,
foregoing instrument and acknowledged to me that lie/she executed the same for the purposes and

consideration therein expressed

 

Witncss my hand and official seat

 

Notary Public‘s Signature

THIS PIRM IS AI`TEMPTING `IO COLLECl' A Dle`Bl'v ANY INFORMAUON OBTAINED WILL
B`E USED FOR THAT PURPOSE. THE DEBT SEI FORTH 'ON `IHIS NOT'ICE WILL BE
ASSUMED lO Bl:`. `VALID UNLESS YOU DlSPUTE Tl-IE DEBI BY PROVIDING THIS ()FFlCE,
WlTH A WRIT TEN NOTICE OP YOUR DlSPUl`E WITHIN 30 DAYS OF YOUR RECEIPT OF
lHlS NOT'ECE, SETTING FORTH THE BASIS 05 YOUR DlSP‘UTE. IF YOU DISPUTE `l`l~lE
DEBI' IN WRIT!NG WITHIN 30 DAYS, WE WlLl. OB“IAIN AND MAIL VER!F!CA'IION OF THE
DEBT TO YOU. IF THE CREDITOR IDE.\IHFIED lN THIS NOT§CE IS DlFFER_ENT T'HAN
YOUR ORIGI`NAL CR.EDHOR, WE Wll_l.. PROVIDE YOU WlTH THF. NAME AND ADDRESS
OF THE ORIGINAL CREDITOR IF YOU R.EQUESI lHIS lNFORMATION IN WRIUNG WI'THIN

30 DAYS.

Form amos (05/£'8)

 

CaSe 3:16-cv-08277-DLR Document 24-5 Filed 10/18/17 Page 5 of 16
' ""`i‘~"-s"‘ /‘--ca~ one

RECORDINC REQUESTED BY:
RECONTRUST COMPANY, N.A. O€F icial Records o¢ Cocunino Coun£y 3522414

2380 rerrorman¢e Dr, Tx2-985-07-03 §§R§t°£n§;t€§~'r¥if§'i'§§ 3§’°5’2°?§ °“27;§`5'.¢§°$’ 2
Richardson, "rx 75082 |llllllllllllllllllllllilllllllllllll|llllllllllllllllllllllllllllllllllllll

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BAC HoME LoANs snvacrNo, LP
400 CouNTRthoE wAv sv.ss
stMt vALLEY, cA 93065

mm FoRF,cLosuRE t)EPT

'rs No. 09-005382'/

Title Order No. 4112748
APN No. 401-51-046

 

NOTICE OF TRUSTEE’S SALE ARIZONA

'l` he following legally described trust property will be sold, pursuant to the power of sale under that certain Deed
ot`Trust Recorded on 05/3 l/2006, as lnstrument Number 33 86 l 86, Book N/A, Page N/A, in the records of
Coconino County, Arizona, at public auction to the highest bidders At the main entrance to the Coconino County
Courthousc, 200 North San Francisco Street, l~`lagstai`f AZ on 08/06/2009 at ll:30 AM of said day.

LOT 33, OF CHAPEL BELLS ESTATES UNIT 4, ACCORDING TO CASE 2 OF MAPS, PAGE 324,
RECGRDS OF COCONINO COUNTY, ARlZONA APN No. 40l-5l~046

`l`he Deed of Trust and/or Benet`xciary provide the following purported property location:
2l HUMMlNGBlRD ClR, SEDONA, Coconino County, AZ 86336-7012

Said sale will be made l`or cash (payable at time ofsale), but without covenant or warranty, express or implied,
regarding title, possession or encumbrances , to pay the remaining principal sum of the note secured by said Deed
of Trust, which includes interest thereon as provided in said note, advances, if any under the terms of said Deed
of Trust, interest on advances, if any, fees, charges and expenses of the Trustee and of the trust created by said
Deed of Trust. The original sum of the note is $373,500.00. Trustce will accept only cash or cashier's check for
reinstatement or price bid payment Reinstatement payment must be paid before five o'clock F.M on the last day
other than a Saturday or legal holiday before the date oi`the sale. The Purchaser at the sale, other than the
beneficiary to the extent of his credit bid, shall pay the price no later than live o'clock P.M. of the following day,
other than a Saturday or legal holiday.

Name and Address of Original Trustor: MlCHAELJ BROSNAHAN, 21 HUMM!NGBIRD ClR, SEDONA, AZ
86336-7012

Name and Address of Current Trustee: RECONTRUST COMPAN\’, N.A., 2380 Perl`ormance Dr,
TX2-985-07-03 Richardson, TX 75082 FOR lNFORMATlON/SALE lNFORMATlON CALL: (800) 28 l-8219

Name and Address of Current Benet`tciary: MOR’I"GAGE ELECTR()NIC REGISTRATION, 400
COUNTRYWIDE WAY SV-35. . SIMI VALLEY, CA 93065 PHONE: (800) 669-6650

RECONTRUST COMPANY, N.A. lS THE CURRENT 'l`RUSTl£E. RECONTRUST COMPANY, N.A.
QUALlFiES AS A TRUSTEE OF THE TRUST DEED UN[)i€R ARlZONA REV|SED STATUTES SBCTION
33-803, SUBSECTION A. 5,, BE,CAUSE lT lS A NAT|ONA!. ASS()ClATlON REGULATED BY "l`H[-l
OFFICE OF THE COMPTROLLER OF THE CURRENCY("()CC")

.'.
t.'i.'._'
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F arm aznos (()5/08)
Descz~iption: coconino,AZ Document - Year.DocID Wg§§§gmg‘§glgg;gd Pages 1-2 Page 1 a
Order: FDAFDSA Comment.'

 

ge 601c 16

Case SM-LWBMQLMLm£nL24;§ Fl'ed_LQ/l_g_/}Z_ja_ ._ __ _ _“, _ ,“. __ ___ _

' 3522414 Pages: 2 of 2 05/05/2009 04:27:45 PlVl

DATED: May 01, 2009

State o.f`: 1338

County of: was )

RECONTRUST COMPANY, N.A.

As Trustee

Shane Serwin, ‘lze€m-Member Q.‘

Asslsbm SeCIBtary

, personally appeared

 

6/ l ` _ ,
On ___Lo_j_~___ before me ChnstopherA.Willtams

S`//\:tn.=
or through

 

foregoing instrument and acknowledged to me that h

consideration therein expressed

Witness my hand and official seal.

 

Notary Public‘s Signature

THIS FIRM lS AT'I`EMPTING TO

THIS NOTICE, SETTING FORTH

DEBT TO YOU. IF THE CREDITOR
YOUR ORIGINAL CRED]T()R, W

OF THE ORIGINAL CREDITOR I
30 DAYS.

S€ce._Jr/A ,

know to me (or proved to me on the oath of

to be the person whose name is subscribed to the

e/she executed the same for the purposes and

CHRlS`|'OPHER A. mm

My Commtuton Explru
June 20. 2012

 

COLLECT A DEBT.

ANY INFORMATION OBTAINED Wll.L

THE DEBT SET FORTH ON THIS NOTICE WILL BE

THE BASIS OF YOUR DISPUTE. IF YOU DISPUTE THE
DEBT lN WRlTlNG WITHIN 30 DAYS, WF, WILL OB'

F YOU REQUEST Tl

l`AlN AND MAIL VERIFICATION OF THE

IDENTIFIED lN THIS NOTICE lS DIFFERENT THAN
E Wll.l. PROVIDE Y()U WITH THE NAME AND ADDRESS

-lIS INFORMATION IN WR]TING WITHIN

F arm amos (05/08)

Description: Cocon.ino,AZ Document ~ Year.DocID 2009.3522414 Selected Pages 1-2 Page 2

Order: FDAFDSA Ccmment :

Case 3:16- -C\/- 08277- DLR Document 24-5 Filed 10/18/17 Page 7 of 16

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3

°\.l
02
“\]

Ts t\lo: XX-XXXXXXX
MlCHAEL J BROSNAHAN

21 HUNH`V]|NGBlRD ClR
SEDONA, AZ 86336-7012

Form inserl (03/'01)

Case 3:16-cv-08277-DLR Document 24-5 Filed 10/18/17 Page 8 of 16
RECORDING R`EQUESTED BY:

RECONTRUST COMPANY, N.A.
2380 Performance Dr, TX2~985-07-03

Ri€har€lson, TX 75932 'i`his is a true copy of the
VVHEN RECORDED MAIL TO: document that was recorded on
BAC HOME LO*ANS SER"./ICING, LP 05/05/2099 instrument No.
400 COUNTRY`WIDE VVA`Y S`V~$S 3522413

SIMI VALLEY, CA 93065
Atm: FORECLOSURE DEPT
'IS No. XX-XXXXXXX
Title Order No. 4112746
APN No. 401»51-046

 

SUBSTITUTIUN OF TRUSTEE ARIZONA

The undersigned beneficiary hereby appoints RECONTRU ST COMPANY, N.A. 2380 Performance Dr,
TXZ-985~07-03 Richardson, TX 75082, SUCCESSOR TRUSTEE under the deed of trust executed by
MICHAEL .i BROSNAHAN, A MARRIED MAN AS HIS SOLE & SEPARATE PROPERTY, as
tmstor(s), in which MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, lNC., is named
beneficiary and FIDELITY NATIONAL TITLE INSURANCE COMPANY, as original trustee, and
Recorded on 05/3 112006: in Coconino County; Arizona_. as lnstrument Nurnber 3386186_. Book N/A,
Page N/A, and legally describing the trust property as

LOT 33, OF CHAPEL BELLS ESTATES UNZT 4, ACCORDING TO CASE 2 OF` MAPS, PAGE 324,
RECORDS OF COCONINO COUNTV, ARIZONA

RECONTRUST COi\/IPANV, N.A. HAS BF,F.N APPOINT'E.D AS ST_TCCF,SSOR TRUSTEE.
RECONTRL'ST COMPANY, N.A. QUALIFIES AS A TRUSTEE OF THE TRUST DEED UNDER
ARIZONA R_EVISED STATUTES SECTION 33-803, SUBSECTION A. 5, BECAUSE l'l` IS A
NATIONAL ASSC)CIATION REGULATED BY T`HE OFFICE OF THE COMPTROLLER OF THE
CURRENCY("OCC")

DATED: 05/08/2009 MORTGAGE ELECTRONIC REGISTRATION SYSTEMS,
lNC.

State of: )

 

COURW Of; `) iviiriam J. Paez, Assistant Secretary
d _________---__.___

On before me , personally appeared

. know to me (or proved to me on the oath of
or through ) to be the person whose name is subscribed to the

foregoing instrument and acknowledged to me that lie/she executed the same for the purposes and

consideration therein expressed

Witness my hand and official seal.

 

Notary Public’s Signature

Form azsubcoov /05/08l

Case 3:16-cv-08277-DLR Document 24-5 Filed 10/18/17 Page 9 of 16

DATED: May 08, 2009 RECONTRUST COMPANY, N.A.
As Trustec

State of: j) BY?
County of: )

 

 

/s/Authorized Signature

On before me , personally appeared

, know to me (or proved to me on the oath of
or through ) to be the person whose name is subscribed to the

foregoing instrument and acknowledged to me that he/she executed the same for the purposes and

consideration therein expressed

Witness my hand and official seal.

 

 

Notary Public's Signature

THIS FIRM lS ATTEMPTING TO CULLECT A DEBT. ANY INFORMATION OBTAlNED WILL
BE USED FOR THAT PURPOSE. THE DEBT SET FoRTH ON THIS NOTLCE wlLL BE
ASSUMED TO BE VALID bNLESS YOU DISPUTE THE DEBT BY PROVIDING THIS oFFICE
WITH A WRITTEN NO‘HCE OF YOUR DISPUTE WITHIN 30 DAYS OF YOUR RECEIPT OF
THIS NOTICE, sETTlNG FC)RTH THE BASIS 012 VOUR DIsPUTE. IF YoU DISPUTE THE
DEBT IN WRITING WtTHIN 30 DAYS, WE WILL OBTAIN AND MAIL VERIFICATIGN oF THE
DEBT 'ro YOU. H~` THE CREDITOR IDENTIFIED tN THIS NoTtCE rs DIFFERENT THAN
YOUR ORlGINAL CREDITOR, WE WILL PROVIDE YOU WITH THE NAME AND ADDRESS
oF THE oRIGtNAL CREDITOR tF YOU REQUEST THIS INFORMATION tN WRITING WITHIN

30 DAYS.

Form azmlngnos (08/06)

Case 3:16-cv-08277-DLR Document 24-5 Filed 10/18/17 Page 10 of 16

BAC Home Loans Servicing, LP
400 COUNTRYW!DE WAY SV-S:'
SIMI VALLEY, CA 93065

TS No. XX-XXXXXXX

Title Order No. 4112748
APN No. 401-51~046

 

STATEMENT OF BREACH GR NON PERFORIVIANCE AND ELECTION TO
SE§JL UNDER DEED UF TRUST AREZUNA

NOTlCE? ANY lNTEREST li\l TRUST PROPERTY THAT lS SUBORDINATE lN PRIORITY TO THE DEED OF
TRUST SE'I` FORTH BELOW MAY BE SUBJECT TO BEING TERMINATED BY THE TRUSTEE‘S SALE. IF YOU
HAVE ANY QUESHONS, YOU SHOULD CONTACT AN ATTORNEY.

The following described breach or non-performance has occuer ol`that certain Deed of Trust recorded on 05!31/2006, as
instrument Number 3336186, Bool< N,"A, Page N!A. in which MlCl»lAEL l BROSNAHAN_. A MARRIED MAN AS HlS
SOLE & SEPARATE PROPERTY, Tmstor and FIDELITY NATlONAL 'I`ITLE INSURANCE COMPANY, 'l`t'ustee and
RECONTRUST COMPANY, N.A., Successor 'l"rustee.

The breach of the contract l`or which said Deed of Tmst is security is as follow:

FAILURE TO PAY THE INSTALLMENT OF PRINCIPAL, `lN'l`EREST AND lMPOUNDS WHICl-I BECAME DUE
ON 01/01:’2009 AND ALL SUBSEQUENT lNSTALLMENTS OF PRTNCIPAL, lNTEREST AND IMPOUNDS,
TOGETHER WITH ALL LATE CHARGES, PLUS ADVANCES MADE AND COSTS lNCURRED BY THE
BENEFlCIARY, INCLUDING FORECLOSURE FEES AND COSTS AND/OR ATTORNEYS' FEES. lN ADDlTlON,
THE ENTIRE PRINClPAL AMOUNT WlLL BECOME DUE ON 06/()1/2036 AS A RESULT OF THE MATURITY
OF THE OBLIGATION ON THAT DATE.

By reason of said breach or non-perfonnance. the Beneficiary; in said Deed of 'l`rust has elected to sell or cause to be sold
the Trust property described in said Deed of Tmst at a Tmstee`s Sale in compliance with ARS 33-80} et. Seq. (Except that
part of 'l`rust property previously released.)

The Beneticiaty's records reflect the following

PROPERTY ADDRESS: 21 HUMMINGB!RD CIR, SEDONA, AZ 863367012
PARCEL NUMBE,R: 401-51»046

Original Principal Balance: 373,500.00

Cun'ent Principal Balance: 3390,623.9¢'1

Name and Address cf Cux‘rem 'l`ruSlDrZ MICHAEI_, J BROSNAHAN, 21 HUMMINGBIRD ClR, SEDONA, AZ
86336-70l2

Dated: 05/'08/2009

Narne and Address of Cun'enr Benet'iciary:
BAC Home Loans Servicing, LP

400 COUN'I`RYWIDE WAY S\/-35
SIMI VALLEY, CA 93065

(800) 669~6650

Salc lnformation Line: (626)-927-4399

By; Benet“tciaqf./Agent

 

Authorized Signor
F or lnformation Call (800)281-8219

Case 3:16-cv-08277-DLR Document 24-5 Filed 10/18/17 Page 11 of 16

     
  

The State f Texas

'@\ ~ _
Phone: 512-463~5558

Statutory Documents Section
Notary Public Unit " / Fax: 512-463-0873
P.o.Box1337s \,\_ \,~/ Diat 1-1-1 For R¢iay services
Austin, 'l`exas 78711-3550 \._ __ www.sos.state.tx.us
Hope Andrade
Secretary of State-
y May 2, 2011
`- Michae_l Brosnahan
22 Humrningbird Circle
Sedona, AZ 86336
Re: Notary Public Complaint~ INPC #253l

Dear Sir/Madam: 7

Por your records, enclosed please find a copy of the Aj'idavit of Notary Publr‘c Named in
'Complaz'nt executed by Christopher A Williams in response to the allegations of the ~above-
captioned complaint If you Wish to submit a rebuttal, please submit a sworn statement within
twenty (20) days. ' . . '

If you have any questions concerning this matter, please contact me.

Sincerely, o

Una F. Jacob

Notary Publio Complaint Specialist
Statutory Documents Section
Phone: 512~463-5558

Fax: 512-475-2815

ujacob@sos.state.tx.us

Enclosures -

 

Case 3:16'-cv-08277-DLR Document 24-5 Filed 10/18/17 Page 12 of 16

Submit to: a » " @

SECRETARY OF STATE
Notary,Public Unit

I’.O. Box 13375

Austin, TX 78711-3375

siz-avs-zsls-Fax § § § \ § igch 255\

‘ Aft'idavlt of Notary Named in Complaint

 

State of Texas

County of :QM¢ §L_~_O
Comes now _Q£MMMM¢§ being duly sworn, deposes and states: Thai as the notary

public named in the complaint f led by ALM¢M_, l have personal knowledge ot the following taots:

‘l. L__}A There have not been any clalms filed against my notary bond
UB A claim or claims has been filed agalnst my notary hond. The facts and outcome(s) of the clalm(s) are:

. @B__ looth woman qua mai/leue cowan ...... ‘
i_°.__\»a,_-.§nz_y ace .___.tni».te tacoma cata&a>__c sen swt_eoc-:

og_~_i§l{we twa re ram ooMgw<ii_:§r_ ___ .

l'_`]C. l am a state employee and was not required to obtain a notary bond -

2. gift l have been found guilty of a crime other than a class C mlsdemeanor. The following`(w6 is a statement of the
nature circumstances date, and location, and a statement whetheer the case is on appeal:

*_Q_@U,_‘~ WM_… " M.`(b”_c_%_l$;_:mcl;€~g_j WS%G~\ %oSC/'D ta\§(>

____ )o_ae__‘zcc le sceniéa_\co_n__
__ civan montana coco;s_qas:_ _s ta__ ¢____ccc_ steele ccc

[]B. l have never been found guilty of a crime other than a class C misdemeanor. Mll?€ Ti"l‘m~) toll/96 N:[o
l'_"]C. l have never been found guilty of a crime.

 

 

§§

 

 

 

 

3. MA. l do not have an interest ln the document(s) at lssue ln the complaint
[]B. l have an interest in the document(s) at issue in the complaint My interest ts:

 

 

 

4 I.A ldo not have a personal relationshlp with the purported slgnar(s) of the document(s) at lssue.
.l have a personal relationship to the purported slgner(s) of the document(s) at` issue. The relationshlp ls:

mu&ina:tm_~lsnt@é_tne_oma_ne_£os@c an access masters
__ ,_¢,_<g wang me amc Cow>imu- mar 1917 vw alive ind mp__-tllgm)_al;__
__ ___nzs_accé_»f._aaewy~ta¢r
5. MA. l am a Texas resident
[]B. l am noia Texas residentl
['_`lC. l a`m not a Texas resident but l `am_ a licensed Texas escrow officer residing in

 

.~_-__-._..__.......__._...__........

6. MA. l have never used a name other than the one stated above
[]B. ln addition to the name stated above l have also used the following names:

 

7 M\. Copies of my notary records covering the following are attached: (1) the time period of the date(s) ln
questlcn; and (2) the ten most recent notarizatlons l performed
[:}B. The attached copies of my notary records are lncomplete or copies are not enclosed because:

 

,_ MAMMB

8 A phone number where l may be reached Monday through Frlday between §AM and sain ls"` aug 744 mg 4

 

 

M”L ;r-‘\i':i a._i_

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‘-x

Afild_ayll o_f Nolary Named iii Co`mpla_lril P§g§ l

 

 

nA"ra

  
 
 

DkTE

   

Case 3:16-cv-08277-DLR Document 24-5 Filed 10/18/17 Page 13 of 16

1306 TYPEI 003 DATE

 

t corp grant deed
hud ot jurisdiction
trustee's deed
special warranty deed
caodot4130

sot 4130

sat

rescission of election 4/30
sol

sot

riots

soi 4/30

riots 4/30

candot

appt ot sucsr trustee
nod ~

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cancellation of nod
candol
act
nod & election
sol
nets
cacdot 5l1
tdusS/i
candor
tdus
special warranty deed
scrivener’s affidavit
id 4[28
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Case 3:16-cv-08277-DLR Document 24-5 Filed 10/18/17 Page 14 of 16

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AKA: _ ’ ` ` . Richardsoh, TX 75082 -
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Pagc 93 of 288

 

Case 3:16-cv-08277-DLR Document 24-5 Filed 10/18/17 Page 15 of 16

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Case 3:16-cv-08277-DLR Document 24-5 Filed 10/18/17 Page 16 of 16

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